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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



IN THE MATTER OF THE APPLICATION OF
THE ASSOCIATED PRESS; CABLE NEWS                              Misc. Action No. 19-0029
NETWORK, INC.; THE NEW YORK TIMES
CO.; POLITICO LLC; AND WP CO., LLC d/b/a
THE WASHINGTON POST FOR ACCESS TO
CERTAIN SEALED COURT RECORDS
_________________________________________|

                [PROPOSED] ORDER GRANTING EXTENSION OF TIME

       Upon consideration of Roger Stone’s request for an order extending the deadline to

respond to the Court’s order regarding the redactions submitted to Stone’s counsel by the

government in the above entitled case. It is hereby ORDERED that the motion is GRANTED.

       It is FURTHER ORDERED that on or before April 23, 2020, counsel for Roger Stone

shall file its position regarding the proposed redactions to the relevant materials.

       SO ORDERED this _____ day of ____________________, 2020.

                                               _________________________________________
                                               THE HONORABLE CHRISTOPHER R. COOPER
                                                United States District Judge
